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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

  DANIEL D’AMBLY

                                Plaintiff,
                                                                  PROPOSED ORDER
                                                                  GRANTING DEFENDANT
                        v.
                                                                  ST. LAWRENCE
  CHRISTIAN EXOO a/k/a ANITFASH GORDON; ST.                       UNIVERISTY’S MOTION
  LAWRENCE UNIVERSITY; TRIBUNE PUBLISHING                         TO DISMISS
  COMPANY; NEW YORK DAILY NEWS; VIJAYA
                                                                  Civil Action No.
  GADDE; TWITTER, INC., COHEN, WEISS AND SIMON,
  LLP;                                                            2:20-cv-12880-JMV-JAD
                                Defendants.


         Defendant St. Lawrence University (the “University”), by and through its counsel,

 Bond, Schoeneck & King, PLLC, having filed a Notice of Motion dated October 30,

 2020, seeking an Order dismissing the Plaintiff’s Complaint against it pursuant to

 Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6),

         AND the Court having considered the Declaration of William L. Fox, sworn to on

 October 27, 2020, and the Brief in support of the University’s motion to dismiss, and all

 papers submitted in opposition to the motion, and after due deliberation, it is hereby

         ORDERED that the University’s motion is granted in its entirety and the

 Complaint is dismissed as against the University, with prejudice.

 IT IS SO ORDERED THIS

 _______ DAY OF ___________, 2021

                                             ________________________________
                                             Honorable John Michael Vazquez




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